         Case 21-32351 Document 189 Filed in TXSB on 07/26/21 Page 1 of 4



UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
KEVIN M. EPSTEIN
UNITED STATES TRUSTEE
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Houston, Texas 77002
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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                        §       CASE NO.
                                              §
LIMETREE BAY SERVICES, LLC,                   §       21-32351 (DRJ)
et al.,                                       §       (Chapter 11)
                                              §
       DEBTORS 1                              §       Jointly Administered

                          NOTICE OF APPOINTMENT OF
                       COMMITTEE OF UNSECURED CREDITORS

TO THE HONORABLE DAVID R. JONES
UNITED STATES BANKRUPTCY JUDGE:

      COMES NOW Kevin M. Epstein, the United States Trustee for Region 7, who pursuant to
11 U.S.C. § 1102(a)(1) hereby appoints the following eligible creditors to the Committee of
Unsecured Creditors in this case:




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, as applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining
Holdings, LLC (1776); Limetree Bay Refining Holdings II, LLC (1815); Limetree Bay Refining, LLC
(8671); Limetree Bay Refining Operating, LLC (9067); Limetree Bay Refining Marketing, LLC (9222).
The Debtors’ mailing address is Limetree Bay Services, LLC, 11100 Brittmoore Park Drive, Houston, TX
77041.
      Case 21-32351 Document 189 Filed in TXSB on 07/26/21 Page 2 of 4




                  Members                                 Counsel for Member
1. Universal Plant Services (IV), LLC          Sidley Austin, LLP
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   806 Seaco Court                             Maegan Quejada, Esq.
   Deer Park, TX 77536                         1000 Louisiana St., Suite 5900
   Tel. 281-680-1604                           Houston, TX 77002
   Email: rkendrick@universalplant.com         Tel. 713-495-4516
                                               Email: dmcfaul@sidley.com
                                                       mquejada@sidley.com
2. Excel Construction & Maintenance VI, Inc.
   Attn: Cherie A. Pinac
   8641 United Plaza Blvd.
   Baton Rouge, LA 70809
   Tel. 225-408-4109
   Email: cpinac@excelusa.com



3. InServ Field Services USVI, LLC             Frederic Dorwart, Lawyers PLLC
   Attn: Cody Reese                            Samuel Ory, Esq.
   1900 N. 161st E. Ave.                       124 E. 4th St.
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4. National Industrial Services, LLC           Kevin F. D’Amour, Esq.
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   P.O. Box 1545                               St. Thomas, VI 00801
   Kingshill, VI 00851                         Tel. 609-902-4370
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                                           2
      Case 21-32351 Document 189 Filed in TXSB on 07/26/21 Page 3 of 4




5. Christiansted Equipment Ltd.             Keating, Muething & Klekamp, PLLC
   Attn: Robert W. McKenna, Jr./            Robert G. Sanker, Esq.
   Daniel McKenna                           1 E. 4th St., Suite 1400
   9149 Dry Fork Road                       Cincinnati, OH 45202
   Harrison, OH 45030                       Tel. 513-579-6587
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   Fax 513-367-0363                         Email: rsanker@kmklaw.com
   Email: bobmckenna@fmmafco.com
           djmckenna@fmmafco.com
6. Pinnacle Services, LLC
   Attn: Robert Stuart Lewis, Jr.
   6002 Diamond Ruby, Suite 3-125
   Christiansted, VI 00820
   Tel. 340-277-3941
   Fax 561-244-0702
   Email: rlewis@pinnaclevi.com

7. Baker Hughes Oilfield Operations LLC     Snow & Green LLP
   Attn: Christopher J. Ryan                Phil Snow, Esq.
   2001 Rankin Road                         22255 Roberts Cemetery Road
   Houston, TX 77073                        Hockley, TX 77447
   Tel. 713-416-0149                        Tel. 713-335-4802
   Email: chris.ryan@bakerhughes.com        Email: phil@snow-green.com


8. Englobal U.S. Inc.
   Attn: Mark A. Hess
   654 N. Sam Houston Pkwy. E., Suite 400
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   Email: mark.hess@englobal.com


9. Pamela Colon                             Nye, Stirling, Hale & Miller, LLP
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        Case 21-32351 Document 189 Filed in TXSB on 07/26/21 Page 4 of 4




Dated: July 26, 2021                          Respectfully Submitted,

                                              KEVIN M. EPSTEIN
                                              UNITED STATES TRUSTEE

                                              By:     /s/ Hector Duran
                                                      Hector Duran
                                                      Trial Attorney
                                                      Texas Bar No. 00783996
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                                                      Houston, TX 77002
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                                                      Mobile: (202) 527-4538
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by electronic means
on all PACER participants on this 26th day of July, 2021.

                                              /s/ Hector Duran
                                              Hector Duran, Trial Attorney




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